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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
                                            CR. NO. S-96-350-05 WBS
12                Plaintiff,
13        v.                                ORDER
14   MADY CHAN,
15                Defendant.
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17                                ----oo0oo----
18                Defendant Mady Chan has filed a request for an order
19   enjoining the United States Marshal and the “Mail Jail” to remove
20   all “escape risk” references from his classification.         Chan has
21   cited no valid authority nor any legitimate reason for granting
22   the request.    The request is accordingly DENIED.
23   DATED:    December 7, 2010
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